                 Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 1 of 45



                                                UNITED STATES DISTRICT COURT
                                              FOR THE WESTERN DISTRICT OF TEXAS
                                                    SAN ANTONIO DIVISION

CANYON FURNITURE COMPANY,                                              §
                                                                       §
               PLAINTIFF,                                              §
                                                                       §
V.                                                                     §
                                                                       §
DANIEL RUEDA SANCHEZ, JULIO                                            § CIVIL ACTION No. 5:18-cv-00753-OLG
ALFONSO RODRIGUEZ VALDEZ,                                              §
FURNITURE INDUSTRIES SERVICES,                                         §
INC., & DISENOS INNOVADORES DE                                         §
BAJA CALIFORNIA, S. de R.L. de C.V.,                                   §
                                                                       §
               DEFENDANTS.                                             §

                                        PLAINTIFF’S SECOND AMENDED COMPLAINT

              Plaintiff Canyon Furniture Company (“Canyon”) files this Second Amended Complaint1

against Defendants Daniel Rueda Sanchez, Julio Alfonso Rodriguez Valdez (together,

“Individual Defendants”), Furniture Industries Services, Inc., and Diseños Innovadores de Baja

California, S. de R.L. de C.V. (collectively with Individual Defendants, “Defendants”).

                                                   I.          PRELIMINARY STATEMENT

              1.             Plaintiff Canyon Furniture Company, a Florida corporation, creates unique

designs and plans for a wide variety of quality home furniture. In certain geographical areas –

including Texas – Canyon offers its unique designs exclusively through Rooms To Go and

Rooms To Go Kids stores (collectively “RTG”), which have three locations in Bexar County

alone. Canyon has been very successful in offering its products in this manner. Defendants

Daniel Rueda Sanchez (a former manager of Canyon’s plant in Mexico) and Julio Alfonso

Rodriguez Valdez (Canyon’s former Chief Financial Officer) have been illegally exploiting
                                                            
1
  Pursuant to Local Rule CV-65, Plaintiff will separately file its Request for Temporary Restraining Order,
Preliminary Injunction, and Permanent Injunction, which, along with all verifications and affidavits in support
thereof, is incorporated herein as if set forth in its entirety.
         Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 2 of 45



Canyon’s success by misappropriating furniture designs, manufacturing processes, engineering

information, supplier list, pricing, financial information, merchandise information sheets,

furniture assembly instruction manuals, customer lists, and component furniture parts, among

other trade secret and proprietary assets, and using Canyon’s trade secret information and assets

to design, manufacture and sell such furniture to third party furniture retailers (such as Bob Mills

Furniture of Texas) by and through their corporations, Defendants Furniture Industries Services,

Inc. (“FIS”) and Diseños Innovadores de Baja California, S. de R.L. de C.V. (“Disenos”).

       2.      Defendants’ illicit actions are brazen and obvious. For example, Defendants

misappropriated the designs and plans for Canyon’s Creekside Loft Bunk:


Plaintiff Canyon Furniture Company’s Design             Defendants’ Copied Furniture Design
          Sold by Rooms To Go Kids                          Sold by Bob Mills Furniture




Defendants did not merely limit themselves to misappropriating Canyon’s trade secrets,

however; Defendants also engaged in a conspiracy to defraud Plaintiff by various means,

including transferring funds in Canyon’s bank account to FIS, without Canyon’s knowledge or

consent. These transfers amounted, in essence, to unauthorized, interest-free loans to Canyon’s

competitor. To hide such illegal transfers from Canyon, false accounting journal entries were

made in Canyon’s general ledger, making it appear that the cash transfers were to purchase
           Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 3 of 45



inventory, when in fact, no such inventory was received in connection with the transfers.

Altogether, more than $260,000 was transferred from Canyon’s accounts to FIS. Although FIS

eventually repaid the unauthorized transfers (before Canyon discovered the illicit transactions),

such actions deprived Canyon of the use of such funds for a period of time and falsely inflated

inventory accounts and understated payables and receivables, which further damaged Canyon’s

ability to operate its plant efficiently. Importantly, these wrongful transfers also funded

Defendants’ wrongful business activities.

       3.      Additionally, Defendants stole from Canyon by: (a) directing workers at

Canyon’s plant in Mexico to divert component parts, paint, hardware, wood, rails, machinery,

and solvents from the plant to Disenos; (b) having Canyon pay shipping charges for Disenos to

ship Disenos’s copied furniture; and (c) causing workers at Canyon’s plant in Mexico to remove

finished pieces of furniture, machinery, equipment, and forklifts from the plant and send them to

Disenos.

       4.      The Court must stop Defendants’ unlawful actions. In addition to actual and

exemplary damages for Defendants’ misappropriation of Plaintiff’s trade secret information,

unfair competition, breaches of fiduciary duties, breaches of confidentiality, breaches of loyalty,

fraud, and unjust enrichment, Plaintiff seeks a temporary restraining order, a preliminary

injunction, and a permanent injunction to stop any further exploitation pending the adjudication

of the merits of Plaintiff’s case. The injunction that Plaintiff seeks is authorized by Fed. R. Civ.

P. 65 and by Tex. Civ. P. Rem. Code § 134A.003, which provides for injunctive relief for “actual

or threatened misappropriation” of trade secrets, and by common law. See, e.g., U.S. Sporting

Prod., Inc. v. Johnny Stewart Game Calls, Inc., 865 S.W.2d 214, 219–20 (Tex. App.—Waco
         Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 4 of 45



1993, writ denied) (noting injunctive relief is one of several remedies available for common law

misappropriation). 

                                       II.       PARTIES

       5.      Plaintiff Canyon Furniture Company is a Florida for-profit corporation whose

principal place of business is Florida, and is a citizen of Florida.

       6.      Daniel Rueda Sanchez, an individual citizen and resident of California, may be

served with process at his usual place of abode at 819 Chervil Ct., Chula Vista, CA 91910, or

wherever defendant may be found.

       7.      Julio Alfonso Rodriguez Valdez, an individual citizen and resident of Tijuana,

Baja California, Mexico, whose usual place of abode is at Circuito Loma Dorada #19525,

Fraccionamiento Loma Dorada, Tijuana, BC, Mexico. Julio Alfonso Rodriguez Valdez may be

served with process through the Hague Convention and/or by serving the Texas Secretary of

State pursuant to Tex. Civ. Prac. & Rem. Code § 17.044(b), because (1) the Secretary of State is

the agent for service on Rodriguez, (2) Rodriguez engages in business in Texas by virtue of

selling furniture in Texas to one or more Texas retailers who thereafter sell to Texas consumers,

(3) Rodriguez does not maintain a regular place of business in Texas, (4) Rodriguez does not

have a designated agent for service of process, and (5) this lawsuit arises from Rodriguez’s

business in Texas. Rodriguez is represented by counsel for the other Defendants, who has

refused to accept service on behalf of any of the Defendants.

       8.      Furniture Industries Services, Inc. is a California corporation doing business in

Bexar County, Texas that can be served through its registered agent as follows: Furniture

Industries Services, Inc., c/o Berena Barajas, its Registered Agent, 2493 Roll Dr. 210-554, San

Diego, CA 92154. Furniture Industries Services, Inc. is a citizen of California.
         Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 5 of 45



       9.      Diseños Innovadores de Baja California, S. de R.L. de C.V. is a Mexican

corporation located at Av. Roberto de La Madrid 1500-B Tijuana Baja California Norte 22170,

with its principal place of business in Tijuana, Baja California, Mexico. Disenos is a citizen of

Mexico. As a foreign corporation organized and existing under the laws of Mexico, Disenos

may be served with process through the Hague Convention and/or by serving the Texas

Secretary of State pursuant to Tex. Civ. Prac. & Rem. Code § 17.044(b), because (1) the

Secretary of State is the agent for service on Disenos, (2) Disenos engages in business in Texas

by virtue of manufacturing furniture that is sold in Texas to Texas consumers, (3) Disenos does

not maintain a regular place of business in Texas, (4) Disenos does not have a designated agent

for service of process, and (5) this lawsuit arsise from Disenos’s business in Texas. Disenos is

represented by counsel for the other Defendants, who has refused to accept service on behalf of

any of the Defendants.

                                III.        JURISDICTION

       10.     This action was originally filed in Texas state court. Defendants then removed to

this Court. This Court has diversity jurisdiction over this suit pursuant to 28 U.S.C § 1332(a)(1)

and (2) because the Plaintiff is a citizen of Florida and the Defendants are citizens of Mexico and

California and the amount in controversy exceeds $75,000.

       11.     This Court has personal jurisdiction over Defendants because each of the

Defendants has engaged in efforts to disclose or use Canyon’s trade secrets to seek profit from

sales of the Canyon copied furniture in Texas. This Court also has personal jurisdiction over

Defendants because the Defendants have placed their copied products into the stream of

commerce with the intention that they will be sold in Texas.          Specifically, the Individual

Defendants have (1) caused Disenos to manufacture, sell, and distribute furniture and (2) caused
         Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 6 of 45



FIS to sell the furniture to retailers that operate their stores in Texas, such as Bob Mills Furniture

stores located throughout Texas, including in San Antonio.

       12.     Disenos and FIS, acting through their member/officer Rueda and other

employees, actively solicited business in Texas by emailing buyers at Bob Mills Furniture to

offer for sale a “youth furniture product line” and resulting in Bob Mills Furniture asking that

FIS and Disenos ship samples of their furniture to Texas; accepting bunk bed purchase orders

from Bob Mills Furniture showing a “Ship To” address in Fort Worth, Texas; shipping those

bunk beds to a Bob Mills Furniture distribution center in Fort Worth, Texas; creating invoices

requesting payment for those shipments to Bob Mills Furniture showing “Ship To” addresses in

Fort Worth and Flower Mound, Texas; and selling Bob Mills Furniture copied and/or stolen

furniture that all Defendants knew or should have known would end up in Bob Mills Furniture

stores throughout Texas.

       13.     Moreover, this Court has personal jurisdiction over Defendants Rodriguez and

Disenos because in entering into the relationship with FIS and Rueda – which relationship

included Rodriguez’s co-ownership in Disenos with Rueda; Rodriguez causing Canyon to make

unauthorized “loans” to FIS and FIS later repaying those “loans” so that Rodriguez could hide

them; Rodriguez falsifying documents and causing Canyon to pay for a portion of the shipping

charges Disenos incurred to ship furniture from Disenos to a Bob Mills Furniture distribution

center in Fort Worth, Texas; Disenos agreeing to manufacture furniture for FIS to sell to Bob

Mills Furniture (which has 7 of its 9 stores in Texas); and Rodriguez’s actual knowledge that

Disenos’s only customer in 2016 was Bob Mills Furniture, which Rodriguez also knew was a

former customer of Canyon – both Rodriguez and Disenos (acting through its member/officer
           Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 7 of 45



Rueda) knew or should have known that by entering into the relationship they were exposing

themselves to the risk that they could be haled into court in Texas.

          14.   Additionally, this Court has personal jurisdiction over FIS and Rueda because FIS

is the alter ego of Rueda. Rueda does now or has in the past completely controlled FIS and acted

as if FIS was an extension of his own personal interests, as evidenced by the fact that Rueda

admits he was responsible for FIS’s financial obligations. Further, on information and belief,

FIS operated with grossly inadequate capital, as evidenced by the fact that it “borrowed” funds

from Canyon (without Canyon’s authorization or approval); it sought business loans; it was

unable, at times, to reimburse Disenos for expenses relating to production of furniture that was

sold to Bob Mills; and Rueda purportedly transferred his interest in FIS to others without

receiving any compensation in return. Additionally Rueda used FIS’s property as his own

personal property, as evidenced by the fact that FIS and Rueda share a physical address.

Accordingly, the contacts of FIS can be imputed to Rueda and Rueda’s contacts can be imputed

to FIS.

          15.   Additionally, this Court has personal jurisdiction over Disenos because Disenos is

the alter ego of FIS and/or Disenos and FIS operate as a single business enterprise that are not

operated as separate entities, but rather integrate their resources to achieve a common business

purpose. Indeed, FIS and Disenos did not separate their finances as two businesses normally

would, and FIS routinely transferred monies to Disenos so that Disenos could pay its workers,

utility bills, water bills, and other overhead costs. Additionally, Disenos employees performed

work, including reaching out to Bob Mills Furniture in Texas, on behalf of FIS, and in fact

Disenos employees had access to FIS email accounts         Moreover, as of December 2017, FIS
         Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 8 of 45



owned 50% of Disenos, and prior to that date, Rueda was an owner of each company.

Accordingly, the contacts of FIS can be imputed to Disenos, and vice-versa.

       16.     This Court also has personal jurisdiction over Disenos and Rodriguez because

Disenos was the alter ego of Rueda and Rodriguez. Rueda and Rodriguez completely controlled

Disenos from 2012 through 2017 and during that time, Rueda and Rodriguez acted as if Disenos

was an extension of their own personal interests, as evidenced by the fact that Rodriguez took

out personal loans to support Disenos and the fact that Rueda admits he and Rodriguez were

individually responsible for Disenos’s financial obligations. Further, on information and belief,

Disenos operated with grossly inadequate capital, as evidenced by the fact that it was at times

unable to pay for labor or electricity and thus would have Rodriguez take out personal loans to

cover such payments.     Moreover, both Rodriguez and Rueda purportedly transferred their

ownership interest in Disenos to others without receiving any compensation in return.

Accordingly, the contacts of Rueda and Rodriguez can be imputed to Disenos, and vice-versa.

       17.     In short, Defendants have directed their conduct at Texas, using Canyon’s Trade

Secrets to target customers in Texas. Defendants actually knew or should have known that their

products would be sold in Texas stores to Texas consumers, and it was certainly foreseeable that

the products they sold to Bob Mills Furniture would reach the Texas market. Additionally, FIS

and Disenos derived all or a substantial portion of their revenues from sales and delivery of the

bunk beds to Bob Mills’s distribution center in Texas. And Defendants aimed their tortious

conduct at Texas to disrupt Canyon’s ability to sell its bunk beds, to its customer RTG, and

consequently to Texas customers. For each of these reasons, Defendants are subject to personal

jurisdiction in Texas.
                 Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 9 of 45



              18.            Finally, this Court has personal jurisdiction over each of the Defendants because

the Defendants have used the corporate form as a cloak to perpetrate fraud, illegality, and to

work an injustice against Canyon, as detailed further throughout this Complaint.  

                                                               IV.   VENUE

              19.            This action was initially brought in the 73rd Judicial District Court for Bexar

County, Texas, where venue was proper pursuant to Section 15.002(a)(1) and 15.005 of the

Texas Civil Practice and Remedies Code. The Defendants then removed this action to this

Court, pursuant to 28 U.S.C § 1441(a), which provides for removal to the district court of the

United States for the district and division embracing the place where such action is pending.

Venue is additionally proper in this Court pursuant to 28 U.S.C. § 1390(b)(2) because a

substantial part of the events giving rise to Plaintiff’s claims occurred here – namely, the

unauthorized use of trade secrets to profit off of sales of copied Canyon furniture products.

                                                     V.        FACTUAL BACKGROUND

              20.            Canyon designs many lines of furniture. One such furniture line is manufactured

and assembled by an affiliate of Canyon at a plant in Tijuana, Baja California, Mexico (the

“Canyon Baja Plant”). This furniture line includes certain furniture designed for children known

as the “Creekside Line,” with offerings such as the Twin/Full Step Bunk Bed with Desk and

Chest (the “Creekside Loft”), which comes in colors like “Taffy” and “Charcoal.” See Exhibit A

to Aff. of M. Goldstein; Exhibit B to Aff. of M. Goldstein.2 The designs and plans for such

furniture were created and owned by Canyon and are the result of years of thought, creativity and

monetary investment by Canyon and its affiliates.

                                                            
2
 The evidentiary citations found herein refer to affidavits and attached exhibits that were filed as part of Plaintiff’s
First Amended Petition, Request for Temporary Restraining Order, Temporary Injunction, Permanent Injunction,
and Damages, and Request for Disclosure, which was filed in the state court prior to removal of the case to this
Court and is part of the record of this Court (see Exhibit G to the Appendix for Defendants’ Notice of Removal
[Dkt. #1-3]). The referenced affidavits and exhibits are incorporated herein as if set forth in their entirety.
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 10 of 45



       21.     As affiliate companies, the Canyon Baja Plant works jointly with Canyon in

confidence to design and engineer furniture, including working together to prepare diagrams and

drawings, design manufacturing processes, arrange vendors and suppliers, prepare financial

plans, and purchase component parts from vendors and assembles furniture based on Canyon’s

designs and plans. One of the materials sourced from vendors is a printed drawer bottom

product that is used to line the drawers of certain pieces of furniture, including the Creekside

Loft. This drawer liner – which is made to look like an old print of the “Lebanon Express”

newspaper – is made specifically for Canyon’ Creekside Line by one of the vendors, and is not

available for general purchase from other sources.       Other specific component parts of the

Creekside Line include multiple process wood-tone finishing systems that have been carefully

formulated to create the “Taffy” and “Charcoal” finish and both functional and decorative

hardware used in assembly. The designs, drawings, plans, merchandising information sheets,

pricing methodologies, vendor lists, and other confidential, proprietary information related to the

design, manufacture, engineering, finishing, and financial and sales data are part of Canyon’s

valuable and confidential trade secrets (the “Trade Secrets”). Canyon carefully protects access to

Canyon’s Trade Secrets.

       22.     Defendant Julio Alfonso Rodriguez Valdez (“Rodriguez”) served as Canyon’s

Chief Financial Officer from approximately 2002.        Defendant Rodriguez was responsible at

Canyon for human resources, security, and all accounting and activities related to its financial

operations, including all information related to costs, sales, revenues, pricing, vendor and

customer lists and other highly sensitive, proprietary information/data constituting a part of

Canyon’s Trade Secrets (such information, collectively with Canyon’s Trade Secrets, is referred
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 11 of 45



to herein as the “Confidential Information”). Defendant Rodriguez at all relevant times herein

had access to the Confidential Information and knew of Canyon’s Trade Secrets.

       23.     Defendant Daniel Rueda Sanchez (“Rueda”) worked at the Canyon Baja Plant for

many years, from approximately 1998 through May of 2018, and served in many senior roles

beginning as a product engineer and spending the last five years as the manager of the Canyon

Baja Plant. As such, Rueda was responsible, among other things, for operations of the plant,

including but not limited to purchasing, engineering and manufacturing, finishing, packing and

shipping and had access to all of Canyon’s Trade Secrets at the Canyon Baja Plant, in addition to

some or all of Plaintiff’s Confidential Information.

       24.     Some or all of the Confidential Information, including all of Canyon’s Trade

Secrets (and other information described above) is a trade secret because it includes a formula,

pattern, compilation, program, device, method, technique, process, financial data, and/or list of

business methods, know-how, manufacturing processes and procedures, marketing information,

pricing data, product designs and manufacturing, supplier and vendor lists, technical information,

technical drawings, furniture designs, competitive-pricing deals with vendors, customer lists,

market-performance data, profitability analysis, and/or manufacturing methods, that: (A) derives

independent economic value, actual or potential, from not being generally known to, and not

being readily ascertainable by proper means by, other persons who can obtain economic value

from its disclosure or use; and (B) is the subject of efforts that are reasonable under the

circumstances to maintain its secrecy.

       25.     Plaintiff has made reasonable efforts to keep this proprietary information secret,

by (1) limiting access to information outside of senior leadership, (2) using tight system controls

on access to financial information, drawings, CAD files, internal assembly information and
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 12 of 45



photography, and (3) buying from a very small vendor base and cultivating long-standing

relationships with vendors who know the value of protecting trade secrets and who would not

knowingly share with a competitor or sell competing product to a competitor. Third parties and

the public do not know this information and cannot readily obtain this information except

through improper means.

       26.    Unbeknownst to Canyon, Defendants Rueda and Rodriguez, while acting in their

respective capacities as plant manager and Chief Financial Officer of Canyon, misappropriated

and purloined the Confidential Information, including Canyon’s Trade Secrets, for their own

benefit to unfairly compete with Canyon and otherwise undermine Canyon’s operations to

Canyon’s detriment. Defendants Rueda and Rodriguez secretly set up, incorporated – and

owned, in whole or in part – Defendants FIS and Disenos (collectively, FIS and Disenos are the

“Corporate Defendants”) for the purpose of wrongfully and unlawfully utilizing the Confidential

Information, including especially Canyon’s Trade Secrets, to copy and manufacture Canyon’s

furniture and designs for sale to competitors of Canyon’s exclusive retail partner in Texas, and

possibly elsewhere. Such Defendants stole and converted to their own use and benefit Canyon’s

invaluable furniture designs and other of Canyon’s Trade Secrets. Moreover, on the basis of

information outlined in the following paragraphs, Canyon believes that Defendants Rueda and

Rodriquez caused and/or participated in the diversion of furniture component parts ordered (and

possibly paid for) by the Canyon Baja Plant – intended to be used for the manufacture of

Canyon-designed furniture – to Defendants FIS and Disenos who in turn used such parts to

manufacture furniture that copied the Canyon designs (the “Copied Furniture”).

       27.    In June 2018, Canyon became aware that Bob Mills Furniture – a direct

competitor of Canyon’s exclusive Texas retailer, RTG – was selling a loft bed substantially
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 13 of 45



similar to Canyon’s Creekside Loft. Compare Exhibit A to Aff. of M. Goldstein with Exhibit C

to Aff. of M. Goldstein.

       28.      On or around June 16, 2018, Jason Laws (“Laws”), the Store Manager of the

Rooms To Go Kids store in Round Rock, Texas, traveled to a Bob Mills Furniture store in Waco,

Texas, where he confirmed that Bob Mills Furniture was offering for sale to consumers a

Journey Loft Twin Over Full Bed (the “Journey Loft”), which comes in colors “Ash” and a

lighter color (that had since been discontinued). See Exhibit C to Aff. of J. Laws; Exhibit D to

Aff. of J. Laws.

       29.      Bob Mills Furniture apparently offered the Journey Loft for sale through its stores

(including its San Antonio, Texas store) and online (for delivery in Texas). Exhibit C to Aff. of

M. Goldstein.

       30.      The Journey Loft was virtually identical to Canyon’s Creekside Loft. Not only

was the “Ash” color offered by Bob Mills nearly the same as the “Charcoal” color offered by

Canyon, but when Laws opened the drawers of the Journey Loft, he found the very same drawer

liner used in the Creekside Loft—i.e., the “Lebanon Express” newsprint made exclusively for

Canyon by its vendors. See Exhibit E to Aff. of J. Laws.

       31.      Upon further inspection of the Journey Loft, Laws also discovered assembly

instructions for the Journey Loft that look remarkably similar to assembly instructions for

Canyon’s Creekside Loft – even down to the placement of pictures on the page. Compare

Exhibit F to Aff. of J. Laws with Exhibit D to Aff. of M. Goldstein. It appears that Defendants

made minimal deletions or changes to the Canyon assembly instructions, but otherwise left them

virtually intact, and thereafter attempted to pass them off as their own.
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 14 of 45



        32.   Additionally, while at the Bob Mills store, Laws found manufacturer tags on the

Journey Loft that showed the manufacturer was Defendant FIS. See Exhibit G to Aff. of J.

Laws; Exhibit H to Aff. of J. Laws. These manufacturer tags showed the Journey Loft was made

in Mexico on June 26, 2016.

        33.   Notably, prior to February 2016, Bob Mills Furniture stores routinely purchased

furniture items in the Creekside Line from Canyon, and then sold them in their retail stores in

Texas to their retail customers in Texas. However, in or around February 2016, Canyon stopped

selling its Creekside Line to Bob Mills Furniture, because Canyon’s exclusive retailer RTG and

Bob Mills had become direct competitors at their physical store locations in the San Antonio

area.

        34.   Subsequently, on July 9, 2018, Sotero Pastrano, Jr., the District Office Manager of

the Rooms To Go South Texas stores and former Rooms To Go Kids store manager in Midland,

Texas, traveled to a Bob Mills store located in San Antonio, Bexar County, Texas, where he

discovered that the Bob Mills San Antonio store was also offering the Journey Loft for sale. See

Exhibit C to Aff. of S. Pastrano; Exhibit D to Aff. of S. Pastrano. As with the Journey Loft

offered for sale in the Bob Mills Waco location, this Journey Loft contained the exclusive

“Lebanon Express” newsprint that is used in the Creekside Loft. See Exhibit E to Aff. of S.

Pastrano; Exhibit F to Aff. of S. Pastrano. Again, as with the Waco loft, the San Antonio loft

had manufacturer tags that showed the manufacturer was Defendant FIS. See Exhibit G to Aff.

of S. Pastrano. Unlike the tags on the Waco loft, however, the San Antonio loft manufacturer

tags showed production in Mexico much more recently – on May 22, 2018.

        35.   Apparently – in breach of the duties they owed to Canyon – the Individual

Defendants viewed Canyon’s 2016 decision to stop selling the Creekside Line to Bob Mills
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 15 of 45



Furniture as a business opportunity to exploit for their own gain. At least as early as June 26,

2016, the Individual Defendants (1) caused Disenos to manufacture Copied Furniture and/or

distribute furniture stolen from the Canyon Baja Factory, and (2) caused FIS to sell the copied or

stolen furniture to Bob Mills Furniture for sale in Texas – presumably, to fill the void left by the

lack of the Creekside Line in Bob Mills Furnitures’s Texas stores. As of the date Plaintiff filed

the original lawsuit, one or more of the Defendants continued with this illicit manufacturing

and/or distribution and sales plan, peddling furniture apparently manufactured less than two

months prior to the filing; if the temporary restraining order expires or injunction is denied,

Defendants are likely to continue these activities. In other words, Defendants have been using

(and may continue to use) Confidential Information, including Canyon’s Trade Secrets, to

compete with Canyon for approximately two years, while both Rueda and Rodriguez served

Canyon or its affiliates.

       36.     Defendants’ brazen attempts to pass off Canyon-designed furniture as its own is

causing irreparable injury to Canyon, because competitors are offering identical products based

on stolen Trade Secrets, Confidential Information, and parts. Not only that, but Canyon loses the

benefit of collateral sales, via its retailer partner, to consumers who might have bought not just

the copied products, but other Canyon-designed furniture as well. Moreover, disclosure of

Canyon’s Trade Secrets could result in loss of trade secret protection. And Canyon’s trade

secrets are being shared with Defendants’ employees, who are using them to make copied

furniture. Even if Canyon can ultimately quantify the volume of stolen merchandise, Canyon

cannot quantify the harm caused to it by loss of protection of its Trade Secrets.

       37.     When confronted on July 9, 2018, Defendant Rodriquez (Canyon’s Chief

Financial Officer) admitted to owning 50% of Defendant Disenos through December 2017.
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 16 of 45



       38.        Defendants did more than misappropriate Canyon’s Trade Secrets and

Confidential Information. On July 11 and 12, 2018, Canyon Vice President Micah Goldstein

(“Goldstein”), along with other Canyon affiliate personnel, reviewed Canyon’s accounting

records and bank statements, and discovered that in 2015 – 2017, Canyon had transferred funds

to FIS in payment for purchases of equipment or subcontract work. At the time of these

transfers, Canyon was unaware that Rueda owned FIS (in whole or in part). While serving as

Canyon’s Chief Financial Officer and plant manager, respectively, Rodriguez and Rueda never

disclosed Rueda’s ownership interest in FIS to Canyon. By virtue of their positions, Rueda and

Rodriguez knew or should have known that Canyon was ignorant of Rueda’s ownership interest

in FIS. Such information was – and is – material to Canyon. Had Canyon known about Rueda’s

ownership in FIS, it would not have purchased equipment and/or subcontracted with FIS without

requiring additional information from FIS to ensure the transactions were made at arms-length.

       39.        In his review, Goldstein also discovered that over several months in 2017, six

unauthorized wire transfers (the “Unauthorized Transfers”) were made from Canyon’s bank

account to a U.S. bank account of FIS. The dates and amounts of the Unauthorized Transfers

are as follows:

                      Date                   Transfer To                     Amount
                    4/4/2017       FIS’s Wells Fargo Account               $ 45,575.07
                   9/13/2017       FIS’s Wells Fargo Account               $ 22,000.00
                   10/3/2017       FIS’s Wells Fargo Account               $ 55,000.00
                   11/6/2017       FIS’s Wells Fargo Account               $ 60,000.00
                   12/1/2017       FIS’s Wells Fargo Account               $ 45,000.00
                   12/19/2017      FIS’s Wells Fargo Account               $ 35,000.00
                                                      TOTAL                $ 262,575.07

       40.        There were controls in place that limited access to the ability to make transfers

from Canyon’s bank accounts. On the dates the Unauthorized Transfers were made, only

Rodriguez had access to be able to make the transfers.
                Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 17 of 45



              41.            After each Unauthorized Transfer occurred, FIS would later pay back the money,

initiating a wire transfer to Canyon’s bank account for the same amount of the transfer. In

essence, Canyon was unknowingly fronting “loans” to FIS, its competitor. In one case, the

“repayment” was made more than six months later – on June 29, 2018 – shortly after Canyon

discovered FIS’s copied furniture items for sale in Texas stores. On information and belief,3

some or all of these “repayments” were made at least in part with funds received from payments

relating to sales of the Copied Furniture to Bob Mills Furniture stores in Texas. FIS did not pay

interest to Canyon with any of these “repayments,” which were made as follows:

                                   Date                                Transfer From           Amount
                                4/17/2017                      FIS’s Wells Fargo Account     $ 45,575.00
                                9/29/2017                      FIS’s Wells Fargo Account     $ 22,000.00
                                11/1/2017                      FIS’s Wells Fargo Account     $ 55,000.00
                                11/30/2017                     FIS’s Wells Fargo Account     $ 60,000.00
                                 1/9/2018                      FIS’s Wells Fargo Account     $ 45,000.00
                                6/29/2018                      FIS’s Wells Fargo Account     $ 35,000.00
                                                                                  TOTAL      $ 262,575.00

              42.            For Unauthorized Transfers that were “repaid” in the same calendar month,

neither transaction was recorded in Canyon’s accounting records. However, for Unauthorized

Transfers that were “repaid” in different calendar months, false accounting entries were made in

Canyon’s general ledger. Instead of recording these transactions to reflect what they really were

– unauthorized, interest-free loans – the transactions were recorded in a manner that served to

overstate inventory and understate payables and receivables.                               For example, when the

Unauthorized Transfer was made to FIS, an entry was recorded to debit (increase) an inventory

account and credit (decrease) the cash account; when the “repayment” was made from FIS, an

entry was recorded to debit (increase) the cash account and credit (decrease) the inventory
                                                            
3
  Despite the Court’s Order dated August 15, 2018 [Dkt. # 18], entitling the Plaintiff to take jurisdictional discovery
from Defendants, counsel for Defendants repeatedly instructed the Defendants not to answer questions regarding the
source of the FIS “repayments” to Canyon, including whether the funds came from payments FIS received in
connection with sales of furniture to Bob Mills Furniture stores in Texas.
         Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 18 of 45



account. See, e.g., Exhibit E to Aff. of M. Goldstein (bank statements showing $55,000 transfer

to FIS and “repayment” from FIS); Ex. F to Aff. of M. Goldstein (journal entries for $55,000

transfer).    Additionally, each of these journal entries lacks support – in the form of an invoice,

purchase order, or the like – that would indicate inventory was actually purchased as a result of

the transfer to FIS.

        43.     Canyon relied on these falsified entries when operating the Canyon Baja Plant,

and has been damaged as the result of its reliance on this false information.

        44.     Misappropriating Canyon’s Trade Secrets and Confidential Information and

making the Unauthorized Transfers constitute only one part of the Defendants’ scheme to

perpetrate a fraud against Canyon. This fraud deceived Canyon as to the true identity of FIS and

Disenos, allowed all Defendants to misappropriate, use, and ultimately profit from Plaintiff’s

trade secrets in Texas, and permitted FIS and Disenos to compete directly with Canyon.

        45.     Among other things, as part of their efforts to perpetrate the fraud, Defendants:

directed workers at the Canyon Baja Plant to divert component parts, paint, hardware, wood,

rails, machinery, and solvents from the Canyon Baja Plant to Disenos; caused Canyon to pay

shipping charges for Disenos to ship Disenos’s copied furniture; and directed workers at the

Canyon Baja Plant to remove finished pieces of furniture, machinery, equipment, and forklifts

from the Canyon Baja Plant and send them to Disenos. Each of these overt acts taken by the

Individual Defendants and the Corporate Defendants (who were operating through the Individual

Defendants, their members/officers) furthered the fraud against Canyon.
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 19 of 45



                                VI.    CAUSES OF ACTION

                                     COUNT ONE
           Unfair Competition – Statutory Misappropriation of Trade Secrets
    Texas Uniform Trade Secrets Act, Tex. Civ. Prac. & Rem. Code §§ 134A.001, et seq.
                               (Against All Defendants)

       46.     Plaintiff incorporates by reference all of the allegations of the foregoing

paragraphs.

       47.     Canyon owns valuable Confidential Information and Canyon’s Trade Secrets,

each of which is proprietary.

       48.     In connection with Individual Defendants’ roles with the business, Canyon gave,

provided access to, and entrusted Individual Defendants with Canyon’s Trade Secrets and

Confidential Information. Canyon went to, and continues to go to, great expense in both time and

money to develop and protect the secrecy of its trade secrets and confidential proprietary

information. Canyon’s Trade Secrets and Confidential Information are essential to Canyon’s

success and enable Canyon to compete in a specialized market.

       49.     Some or all of the Confidential Information, including Canyon’s Trade Secrets

(and other information described above) is a trade secret because it includes a formula, pattern,

compilation, program, device, method, technique, process, financial data, and/or list of business

methods, know-how, manufacturing processes and procedures, marketing information, pricing

data, product designs and manufacturing, supplier and vendor lists, technical information,

technical drawings, furniture designs, competitive-pricing deals with vendors, customer lists,

market-performance data, profitability analysis, and/or manufacturing methods, that: (A) derives

independent economic value, actual or potential, from not being generally known to, and not

being readily ascertainable by proper means by, other persons who can obtain economic value
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 20 of 45



from its disclosure or use; and (B) is the subject of efforts that are reasonable under the

circumstances to maintain its secrecy. Tex. Civ. Prac. & Rem. Code § 134A.002(6).

       50.     Plaintiff has made reasonable efforts to keep this proprietary information secret,

by (1) limiting access to information outside of senior leadership, (2) using tight system controls

on access to drawings, CAD files, assembly instructions and photography, and (3) buying from a

very small vendor base and cultivating long-standing vendor relationships with vendors who

know the value of protecting trade secrets and who would not knowingly share with a competitor

or sell competing product to a competitor. Third parties and the public do not know this

information and cannot readily obtain this information except through improper means.

       51.     One or more Defendants used improper means (either by theft, breach of a duty to

maintain confidentiality, to limit use, or to prohibit discovery of a trade secret, and/or espionage

through electronic or other means) to obtain Canyon’s Trade Secrets. Each Defendant

misappropriated Canyon’s Trade Secrets through:

              a.     Acquisition of a trade secret of another by a person who knows or has
       reason to know that the trade secret was acquired by improper means; and/or

              b.      Disclosure or use of a trade secret of another without express or implied
       consent by a person who:

                     i.       used improper means to acquire knowledge of the trade secret;

                     ii.      at the time of disclosure or use, knew or had reason to know that
               the person’s knowledge of the trade secret was:

                             a)     derived from or through a person who had utilized
                       improper means to acquire it;

                              b)       acquired under circumstances giving rise to a duty to
                       maintain its secrecy or limit its use; or

                              c)     derived from or through a person who owed a duty to the
                       person seeking relief to maintain its secrecy or limit its use; or
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 21 of 45



                    iii.     before a material change of the person’s position, knew or had
               reason to know that it was a trade secret and that knowledge of it had been
               acquired by accident or mistake.

       52.     Individual Defendants divulged and continue to divulge Canyon’s Confidential

Information, including Canyon’s Trade Secrets, such as assembly instructions, vendor contact

information, furniture designs, manufacturing processes, engineering information, lists of

supplies and suppliers, pricing, financial information, merchandise information sheets, furniture

assembly instruction manuals, customer lists, and component furniture parts.             Individual

Defendants are using the Confidential Information, including Canyon’s Trade Secrets, for their

benefit and/or the benefit of FIS and Disenos, and to the detriment of Canyon.

       53.     Specifically, Individual Defendants exploited their access to the Confidential

Information, including Canyon’s Trade Secrets, by secreting it away for their own commercial

benefit and purposes. Through their companies, FIS and Disenos, the Individual Defendants

manufactured and/or distributed furniture identical in design to Plaintiff’s furniture, and utilized

the same manufacturing methods to sell the Copied Furniture to Plaintiff’s direct competitors.

Individual Defendants also have a duty not to reveal or use the Confidential Information,

including Canyon’s Trade Secrets, and FIS and Disenos have a duty to refrain from utilizing or

even possessing such information. Additionally, FIS and Disenos, at the time of disclosure or

use, knew or had reason to know that the Individual Defendants’ knowledge of the trade secret

was acquired under circumstances giving rise to a duty to maintain its secrecy or limit its use;

and derived from or through persons (Rueda and Rodriguez) who owed a duty to the person

seeking relief to maintain its secrecy or limit its use. Each of the Defendants’ acts, singularly or

in combination with others, constitute a breach of their covenant not to use or disclose trade

secrets or confidential information.
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 22 of 45



       54.     Each Defendant’s misappropriation was willful and malicious.

       55.     Each Defendant’s misappropriation proximately caused significant damages to

Canyon. Canyon was and is being damaged by loss of direct sales, loss of collateral sales from

consumers, and the possibility of losing its trade secret protection as a result of Defendants’

wrongful conduct. Canyon seeks damages that include both the actual loss caused by

misappropriation and the unjust enrichment caused by misappropriation that is not taken into

account in computing actual loss.      Canyon also seeks injunctive relief for actual and/or

threatened misappropriation; exemplary damages; and attorney’s fees under Tex. Civ. Prac. &

Rem. Code § 134A.003-005.

                                     COUNT TWO
                   Unfair Competition – Common Law Misappropriation
                                (Against All Defendants)

       56.     Plaintiff incorporates by reference all of the allegations of the foregoing

paragraphs.

       57.     In addition to misappropriating Canyon’s Trade Secrets in violation of the Texas

Uniform Trade Secrets Act, Defendants have engaged in common law misappropriation of

Canyon’s Confidential Information, including Canyon’s Trade Secrets.            Canyon invested

extensive time, labor, skill, and money in the creation of its furniture designs, merchandise

information sheets, , component furniture parts and other Confidential Information.

       58.     Defendants have used Canyon’s furniture designs, assembly instructions,

component furniture parts, and/or other Confidential Information to manufacture and/or

distribute the Copied Furniture. Defendants have thereafter sold the Copied Furniture to retailers

such as Bob Mills Furniture in Texas (and possibly elsewhere) in competition with the Plaintiff,
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 23 of 45



thereby gaining a special advantage in that competition (i.e., a “free ride”) because Defendants

are burdened with little or none of the expense incurred by the Plaintiff.

       59.     Defendants actions in manufacturing the Copied Furniture and offering it for sale

in competition with Plaintiff has caused commercial damage to the Plaintiff, including but not

limited to, loss of sales that Plaintiff could have made of the Copied Furniture, loss of good will,

and loss of collateral sales from consumers who bought the Copied Furniture at Bob Mills

Furniture instead of through Canyon’s exclusive retailers.

       60.     Defendants’ unlawful conduct described above will continue unless restrained

immediately by order of the Court. By the unlawful conduct of Defendants, Canyon will suffer

immediate and irreparable harm that cannot be compensated by an award of damages

       61.     Consequently, Canyon also requests compensatory damages in an amount to be

proven at trial and exemplary damages to deter such conduct in the future.

                                       COUNT THREE
                                   Breach of Fiduciary Duty
                                (Against Individual Defendants)

       62.     Plaintiff incorporates by reference all of the allegations of the foregoing

paragraphs.

       63.     By virtue of Rodriguez’s role as Chief Financial Officer, Rodriguez enjoys a

fiduciary relationship with Plaintiff. By virtue of the appointment of Rueda as the Canyon Baja

Plant Manager, Rueda enjoyed a relationship of special trust and confidence with Plaintiff.

Pursuant to those relationships, each Individual Defendant owes or owed to Canyon the fiduciary

duties of care, loyalty, good faith, and full disclosure, the duty to refrain from self-dealing, and

the duty to put Canyon’s interests ahead of its own interests and the interests of others.
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 24 of 45



       64.     The Individual Defendants breached their fiduciary duties owed to Plaintiff by

abusing their positions of trust and access to Plaintiff’s Confidential Information, including

Canyon’s Trade Secrets, for their own personal gain to Plaintiff’s detriment. Specifically, the

Individual Defendants used the information Plaintiff entrusted to them to identify which pieces

of furniture were profitable, how to make and manufacture the furniture profitably, where to buy

vendor parts, and the competitive pricing for those parts. The Individual Defendants further used

their access to the Confidential Information (including Canyon’s Trade Secrets) to steal that

information and use it to cause their businesses, FIS and Disenos, to manufacture, sell, and profit

from the Copied Furniture. Moreover, Rodriguez used his position serving as Chief Financial

Officer to cause Canyon to make unauthorized, interest-free “loans” to FIS, its competitor. In

doing so, the Individual Defendants engaged in self-dealing, failed to put Canyon’s interests

ahead of their own interests, violated the duties of good faith and loyalty.

       65.     As a direct and proximate result of the Individual Defendants’ conduct as alleged

above, Canyon was injured and has suffered substantial damages, including loss of good will,

loss of sales, reputational harm, brand dilution, and loss of collateral sales.

       66.     Canyon is entitled to recover all damages suffered as a result of the Individual

Defendants’ breaches of fiduciary duties.

                                         COUNT FOUR
                               Breach of Confidential Relationship
                                (Against Individual Defendants)

       67.     Plaintiff incorporates by reference all of the allegations of the foregoing

paragraphs.

       68.     Defendant Rodriguez served as Chief Financial Officer and enjoyed a confidential

relationship with Plaintiff. By virtue of the appointment of Rueda as the Canyon Baja Plant
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 25 of 45



Manager, Rueda enjoyed a relationship of special trust and confidence with Plaintiff.

       69.     The Individual Defendants breached that confidential relationship by using and

disclosing Plaintiff’s Confidential Information, including Canyon’s Trade Secrets, which they

gained knowledge of through their respective roles and confidential relationship with Plaintiff.

       70.     The Individual Defendants knew that the Confidential Information, including

Canyon’s Trade Secrets, was presented to them in confidence as Plaintiff’s CFO and plant

manager.

                                         COUNT FIVE
                                   Breach of Duty of Loyalty
                                (Against Individual Defendants)

       71.     Plaintiff incorporates by reference all of the allegations of the foregoing

paragraphs.

       72.     By virtue of Rodriguez’s role as Chief Financial Officer and Rueda’s appointment

as the Canyon Baja Factory’s plant manager, Individual Defendants had a confidential

relationship with Canyon and owed a duty of loyalty to Canyon, which includes the obligation to

act in Canyon’s interest and the obligation not to take, divulge, or use Canyon’s Confidential

Information, including Canyon’s Trade Secrets, to Canyon’s detriment during or after their

service to the company.

       73.     Therefore, as persons with access to Canyon’s Confidential Information,

Individual Defendants had common law duty of loyalty not to remove, convert or misappropriate

Canyon’s Confidential Information, including Canyon’s Trade Secrets.

       74.     Individual Defendants divulged Canyon’s Confidential Information to others,

including to FIS and Disenos, to the detriment of Canyon. Specifically, Individual Defendants

used Canyon’s Confidential Information, particularly information about Canyon furniture
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 26 of 45



manufacturing and assembly processes, to cause Disenos to manufacture and assemble furniture

designed by Canyon and sell it through FIS to Bob Mills Furniture stores and possibly others.

Accordingly, Individual Defendants used Canyon’s Confidential Information for their benefit

and/or the benefit of FIS and Disenos and to the detriment of Canyon.          Canyon has not

authorized the removal, use, and/or disclosure of the Confidential Information taken by

Individual Defendants.

       75.     Individual Defendants’ acts constitute a breach of their common law duty of

loyalty owed to Canyon.        The above-referenced acts in misappropriating Confidential

Information developed by Canyon and other conduct committed by Individual Defendants are

the proximate cause of significant damages to Canyon.

       76.     Canyon has been and will continue to be damaged by the lost revenue and lost

business goodwill as a result of Individual Defendants’ wrongful conduct.

       77.     Individual Defendants’ unlawful conduct described above will continue unless

restrained immediately by order of the Court. By the unlawful conduct of Defendants, Canyon

will suffer immediate and irreparable harm that cannot be compensated by an award of damages.

       78.     Canyon has also been damaged by the disclosure, use and/or removal of its

Confidential Information and trade secrets and Defendants’ use and disclosure of the same.

Canyon will continue to be damaged if Defendants continue to disclose or use Canyon’s

Confidential Information.

       79.     Individual Defendants’ conduct described above was done willfully, intentionally,

and with malice. Consequently, Canyon also requests actual damages in an amount to be proven

at trial and exemplary damages to deter such conduct in the future.
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 27 of 45



                                          COUNT SIX
                                   Fraud by Nondisclosure
                                (Against Individual Defendants)

       80.      Plaintiff incorporates by reference all of the allegations of the foregoing

paragraphs.

       81.      During the time that Canyon purchased equipment from and subcontracted work

from FIS, Individual Defendants concealed or failed to disclose the fact that Rueda owned any

interest in FIS. Additionally, Individual Defendants actively concealed and failed to disclose

that Rodriguez had caused Canyon to make unauthorized, interest-free “loans” to FIS – its

competitor.

       82.      By virtue of Rodriguez’s role as Chief Financial Officer, Rodriguez enjoys a

fiduciary relationship with Plaintiff. By virtue of the appointment of Rueda as the Canyon Baja

Plant Manager, Rueda enjoyed a relationship of special trust and confidence with Plaintiff.

Accordingly, each of the Individual Defendants owed Canyon a duty to disclose the facts.

       83.      The fact that Rueda owned any interests in FIS was, and is, material to Canyon.

Similarly, the fact that substantial sums of money were being transferred to FIS from Canyon’s

bank account to fund interest-free loans to FIS, its competitor, was, and is, material to Canyon.

       84.      By virtue of their positions, Rueda and Rodriguez knew or should have known

that Canyon was ignorant of Rueda’s ownership interest in FIS. Moreover, by virtue of their

active concealment of the unauthorized “loans” to FIS – namely, by booking false accounting

entries – the Individual Defendants knew that Canyon was unaware of the true nature of these

transactions.
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 28 of 45



       85.     The Individual Defendants never disclosed Rueda’s ownership interest in FIS to

Canyon, despite their duty to convey those facts to Canyon. Likewise, the Individual Defendants

never disclosed the unauthorized, interest-free “loans” being made to FIS.

       86.     In failing to disclose the fact of Rueda’s ownership of FIS to Canyon, the

Individual Defendants intended to induce Canyon to purchase equipment from and subcontract

with FIS. Similarly, in failing to disclose the “loans” to Canyon, the Individual Defendants

intended Canyon to continue making such “loans” to FIS.

       87.     Canyon was injured as the result of entering into transactions with FIS – including

purchasing equipment from, subcontracting with, and making interest-free “loans” to FIS.

Canyon is entitled to recover all damages suffered as a result of the Individual Defendants’ fraud

by nondisclosure.

                                        COUNT SEVEN
                                      Common Law Fraud
                                      (Against Rodriguez)

       88.     Plaintiff incorporates by reference all of the allegations of the foregoing

paragraphs.

       89.     By recording false journal entries in Canyon’s general ledger, Rodriguez made

multiple false representations to Canyon.        These representations caused inventory to be

overstated and payables and receivables to be understated.

       90.     Such misrepresentations were material to Canyon.

       91.     When Rodriguez made the representations, he knew the representations were false

because he knew that instead of transferring funds to FIS to procure inventory, he had instead

transferred the funds to FIS as an unauthorized, interest-free “loan.”
         Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 29 of 45



         92.   Rodriguez made the misrepresentations to Canyon with the intent that Canyon act

or rely on the representations. Specifically, Rodriguez intended that Canyon rely on the false

journal entries so it would not uncover his scheme to send money to FIS.

         93.   Canyon actually relied on the misrepresentations in running its Canyon Baja

Plant.

         94.   The misrepresentations caused Canyon injury. Canyon is entitled to recover all

damages suffered as a result of Rodriguez’s common law fraud.

                                        COUNT EIGHT
                                       Unjust Enrichment
                                         (Against FIS)

         95.   Plaintiff incorporates by reference all of the allegations of the foregoing

paragraphs.

         96.   FIS obtained the benefit of receiving interest-free “loans” from Canyon and by

entering into non-arms’ length transactions such as the sale of equipment and machinery with

Canyon, without Canyon’s knowledge, authorization, or approval.

         97.   Rodriguez wrongly secured the unauthorized “loans” by illicitly transferring fund

from Canyon’s bank account to FIS. FIS passively received these unauthorized “loans.”

         98.   Rueda and/or Rodriguez wrongly cause Canyon to enter into non-arms’ length

transactions with FIS for the sale of equipment and machinery from FIS to Canyon while failing

to disclose the true identity of FIS. FIS passively received the benefit of such transactions, i.e.,

funds from such sales.

         99.   It would be unconscionable to allow FIS to retain the benefits of receiving

interest-free “loans” of funds from Canyon’s bank account and of entering into non-arms’ length
                Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 30 of 45



transactions such as the sale of equipment and machinery with Canyon, which were made

without Canyon’s knowledge, authorization, or approval.

                                                                        COUNT NINE
                                                                    Common Law Fraud
                                                               (Against Rodriguez and Disenos)

              100.           Plaintiff incorporates by reference all of the allegations of the foregoing

paragraphs.

              101.           By falsifying parts of invoices from a trucking company relating to shipping

charges for Disenos to ship its copied furniture,4 Rodriguez (acting individually and as a

member/officer and/or alter ego of Disenos) made multiple false representations to Canyon.

These representations caused Canyon to pay shipping charges for items it had not shipped.

              102.           Such misrepresentations were material to Canyon.

              103.           When Rodriguez (acting individually and as a member/officer and/or alter ego of

Disenos) made the representations, he knew the representations were false because he knew that

the invoices were related to shipping charges for Disenos to ship its copied furniture – not for

Canyon to ship anything.

              104.           Rodriguez (acting individually and as a member/officer and/or alter ego of

Disenos) made the misrepresentations to Canyon with the intent that Canyon act or rely on the

representations. Specifically, Rodriguez and Disenos intended that Canyon rely on the falsified

invoices so it would not uncover his scheme to cause Canyon to pay for Disenos to ship its

copied furniture.


                                                            
4
 The dates of shipment on these invoices are:10/12/2016, 3/2/2017, 3/7/2017, 4/5/2017,
4/12/2017, 5/25/2017, 6/9/2017, 6/9/2017, 6/27/2017, 10/31/2017, 11/24/2017, 12/5/2017,
2/15/2018, 2/28/2018, and 3/9/2018.
         Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 31 of 45



         105.   Canyon actually relied on the misrepresentations in running its Canyon Baja

Plant.

         106.   The misrepresentations caused Canyon injury. Canyon is entitled to recover all

damages suffered as a result of Rodriguez’s and Disenos’s common law fraud.

                                          COUNT TEN
                                     Fraud by Nondisclosure
                                     (Against All Defendants)

         107.   Plaintiff incorporates by reference all of the allegations of the foregoing

paragraphs.

         108.   During the time in question, all Defendants actively concealed and failed to

disclose to Canyon as to the true identity of FIS and Disenos, which concealment allowed all

Defendants to misappropriate, use, and ultimately profit from Canyon’s trade secrets in Texas

and permittted FIS and Disenos to compete directly with Canyon.

         109.   By virtue of Rodriguez’s role as Chief Financial Officer, Rodriguez enjoys a

fiduciary relationship with Plaintiff. By virtue of the appointment of Rueda as the Canyon Baja

Plant Manager, Rueda enjoyed a relationship of special trust and confidence with Plaintiff.

Accordingly, both Rodriguez and Rueda (and their alter egos, Disenos and FIS) owed Canyon a

duty to disclose the facts.

         110.   The fact of the true identity of FIS and Disenos and FIS’s and Disenos’s

competition with Canyon using Canyon’s Trade Secrets, Confidential Information, and

materials, finished goods, machinery, and equipment (all paid for by Canyon) was, and is,

material to Canyon.

         111.   By virtue of their positions, Rueda and Rodriguez (and their alter egos FIS and

Disenos) knew or should have known that Canyon was ignorant of the true identity of FIS and
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 32 of 45



Disenos and FIS’s and Disenos’s competition with Canyon using Canyon’s Trade Secrets,

Confidential Information, and materials, finished goods, machinery, and equipment (all paid for

by Canyon). Moreover, by virtue of their active concealment of the true identity of FIS and

Disenos and their own efforts to steal materials, finished goods, machinery, and equipment and

divert them to Disenos, all Defendants knew that Canyon was unaware of the true identity of FIS

and Disenos and FIS’s and Disenos’s competition with Canyon using Canyon’s Trade Secrets,

Confidential Information, and materials, finished goods, machinery, and equipment (all paid for

by Canyon).

       112.    The Defendants never disclosed the true identity of FIS and Disenos and FIS’s

and Disenos’s competition with Canyon using Canyon’s Trade Secrets, Confidential

Information, and materials, finished goods, machinery, and equipment.

       113.    In failing to disclose these facts, the Defendants intended to induce Canyon

continue operating as it had been, to contract with FIS, and to remain ignorant of FIS’s and

Disenos’s competition with Canyon using Canyon’s Trade Secrets, Confidential Information,

and materials, finished goods, machinery, and equipment.

       114.    Canyon was injured as the result Defendants’ nondisclosure of (and active efforts

to hide) the true identity of FIS and Disenos and FIS’s and Disenos’s competition with Canyon

using Canyon’s Trade Secrets, Confidential Information, and materials, finished goods,

machinery, and equipment (all paid for by Canyon).      Canyon is entitled to recover all damages

suffered as a result of the Defendants’ fraud by nondisclosure.
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 33 of 45



                                     COUNT ELEVEN
                                 Conspiracy to Commit Fraud
                                   (Against All Defendants)

       115.    Plaintiff incorporates by reference all of the allegations of the foregoing

paragraphs.

       116.    Each of the Defendants was a member of a combination of two or more persons.

       117.    The object of the combination was to accomplish an unlawful purpose,

specifically, to perpetrate their fraud against Canyon meant to deceive Canyon as to the true

identity of FIS and Disenos, allow all Defendants to misappropriate, use, and ultimately profit

from Canyon’s trade secrets in Texas, and permit FIS and Disenos to compete directly with

Canyon.

       118.    The Defendants had a meeting of the minds on the object or course of action, i.e.,

to perpetrate their fraud against Canyon meant to deceive Canyon as to the true identity of FIS

and Disenos, allow all Defendants to misappropriate, use, and ultimately profit from Canyon’s

trade secrets in Texas, and permit FIS and Disenos to compete directly with Canyon.

       119.    Defendant Rueda committed unlawful, overt acts to further the object of the

conspiracy. Among other acts described throughout this Complaint, Rueda directed workers at

the Canyon Baja Plant to remove materials, finished goods, machinery, and equipment paid for

by Canyon from the Canyon Baja Plant, send those parts to Disenos, and caused Canyon to pay

shipping charges for Disenos to ship copied furniture.

       120.    Defendant Rodriguez committed unlawful, overt acts to further the object of the

conspiracy.   Among other acts described throughout this Complaint, Rodriguez unlawfully

transferred funds in Canyon’s bank accounts to the bank account of FIS, falsified parts of

invoices from a trucking company to cover up the fact that Canyon was paying shipping charges
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 34 of 45



for Disenos to ship its copied furniture, and directed Canyon Baja Plant a security supervisor to

have workers take materials from the Canyon Baja Plant to Disenos.

       121.    FIS committed unlawful, overt acts to further the object of the conspiracy. Acting

through its member/officer, Rueda, FIS accepted unauthorized transfers initiated by Rodriguez

from Canyon’s bank accounts, and on later dates repaid the unauthorized transfer amounts in

order to obscure the truth. Additionally, FIS – acting through Rueda and others – actively

solicited sales of its products in Texas, while knowing that such products were copies, contained

stolen parts, and/or were stolen in their entirety from the Canyon Baja Plant.

       122.    Disenos committed unlawful, overt acts to further the object of the conspiracy.

Acting through its members/officers, Rueda and Rodriguez, Disenos accepted materials, finished

goods, machinery, and equipment that it knew had been paid for by Canyon and illicitly from the

Canyon Baja Plant. Additionally, Disenos shipped its own furniture copies (containing stolen

parts, and/or that were stolen in their entirety) using Canyon’s shipping partner and then caused

Canyon to pay for shipping charges.       Moreover, acting through its member/officer Rueda,

Disenos knew or should have known its furniture copies were being actively solicited for sale in

Texas, while knowing that such products were copies, contained stolen parts, and/or were stolen

in their entirety from the Canyon Baja Plant.

       123.    Canyon has suffered numerous damages as a proximate result of the conspiracy

and of each Defendant’s unlawful, overt act in furtherance of the conspiracy.
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 35 of 45



                                   COUNT TWELVE
                  Conspiracy to Commit Misappropriation of Trade Secrets
                                 (Against All Defendants)

       124.    Plaintiff incorporates by reference all of the allegations of the foregoing

paragraphs.

       125.    Each of the Defendants was a member of a combination of two or more persons.

       126.    The object of the combination was to accomplish an unlawful purpose,

specifically, to misappropriate, use, and ultimately profit from Canyon’s trade secrets in Texas.

       127.    The Defendants had a meeting of the minds on the object or course of action, i.e.,

to misappropriate, use, and ultimately profit from Canyon’s trade secrets in Texas.

       128.    Defendant Rueda committed unlawful, overt acts to further the object of the

conspiracy. Among other acts described throughout this Complaint, Rueda directed workers at

the Canyon Baja Plant to remove materials, finished goods, machinery, and equipment paid for

by Canyon from the Canyon Baja Plant and send those parts to Disenos. Moreover, Rueda

breached the fiduciary duties, duty of confidentiality, and duty of loyalty he owed to Canyon by

abusing his position of trust and access to Canyon’s Trade Secrets, using the information

Plaintiff entrusted to him to identify which pieces of furniture were profitable, how to make and

manufacture the furniture profitably, where to buy vendor parts, and the competitive pricing for

those parts. Rueda further used his access to the Confidential Information (including Canyon’s

Trade Secrets) to steal that information and use it to cause his businesses, FIS and Disenos, to

manufacture, sell, and profit from the Copied Furniture.

       129.    Defendant Rodriguez committed unlawful, overt acts to further the object of the

conspiracy.   Among other acts described throughout this Complaint, Rodriguez unlawfully

transferred funds in Canyon’s bank accounts to the bank account of FIS, falsified parts of
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 36 of 45



invoices from a trucking company to cover up the fact that Canyon was paying shipping charges

for Disenos to ship its copied furniture, and directed Canyon Baja Plant a security supervisor to

have workers take materials from the Canyon Baja Plant to Disenos. Moreover, Rueda breached

the fiduciary duties, duty of confidentiality, and duty of loyalty owed to Canyon by abusing his

position of trust and access to Plaintiff’s Confidential Information, including Canyon’s Trade

Secrets, using the information Plaintiff entrusted to him to identify which pieces of furniture

were profitable, how to make and manufacture the furniture profitably, where to buy vendor

parts, and the competitive pricing for those parts.       Rueda further used his access to the

Confidential Information (including Canyon’s Trade Secrets) to steal that information and use it

to cause his business, Disenos, to manufacture, sell, and profit from the Copied Furniture.

       130.    FIS committed unlawful, overt acts to further the object of the conspiracy. Acting

through its member/officer, Rueda, FIS accepted unauthorized transfers initiated by Rodriguez

from Canyon’s bank accounts, and on later dates repaid the unauthorized transfer amounts in

order to obscure the truth. Additionally, FIS – acting through Rueda and others – actively

solicited sales of its products in Texas, while knowing that such products were copies, contained

stolen parts, and/or were stolen in their entirety from the Canyon Baja Plant.

       131.    Disenos committed unlawful, overt acts to further the object of the conspiracy.

Acting through its members/officers, Rueda and Rodriguez, Disenos accepted materials, finished

goods, machinery, and equipment that it knew had been paid for by Canyon and illicitly from the

Canyon Baja Plant. Additionally, Disenos shipped its own furniture copies (containing stolen

parts, and/or that were stolen in their entirety) using Canyon’s shipping partner and then caused

Canyon to pay for shipping charges.       Moreover, acting through its member/officer Rueda,

Disenos knew or should have known its furniture copies were being actively solicited for sale in
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 37 of 45



Texas, while knowing that such products were copies, contained stolen parts, and/or were stolen

in their entirety from the Canyon Baja Plant.

       132.    Canyon has suffered numerous damages as a proximate result of the conspiracy

and of each Defendant’s unlawful, overt act in furtherance of the conspiracy.

                            VII.        INJUNCTIVE RELIEF

A.     Temporary Restraining Order Against All Defendants

       133.    Plaintiff incorporates by reference all of the allegations of the foregoing

paragraphs.

       134.    Plaintiff Canyon is likely to succeed on the merits of its lawsuit. There exists

evidence that Individual Defendants breached and are breaching their duties of confidence,

loyalty, and fiduciary duties owed to Canyon. Furthermore, Defendants’ actual misappropriation

supports Canyon’s request for injunctive relief. As more fully set forth in above in this Petition,

Defendants’ wrongful conduct damaged and is damaging Canyon.

       135.    Under the circumstances, there is immediate danger resulting from Defendants’

(1) actual misappropriation; and (2) breaches and improper competition with Canyon, all to

Canyon’s detriment.

       136.    Such actions, if not restrained and enjoined, have caused and will continue to

cause Canyon irreparable harm, and Canyon will not have an adequate remedy at law because

the harm caused by loss of collateral sales and the loss of trade secret protection is not

quantifiable. Mere money damages cannot adequately compensate Canyon for such loss, or, in

fact, prevent such devastating and permanent loss. Consequently, a temporary restraining order

is necessary to prevent further loss, and to prevent further immediate and irreparable harm.
           Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 38 of 45



       137.     The immediate, irreparable harm Canyon faces outweighs any alleged injury that

would be sustained by the Defendants as a result of the injunctive relief requested herein.

Defendants will simply be returned to the status quo that existed prior to Defendants’ unlawful

conduct.

       138.     Additionally, the requested injunctive relief will not adversely affect public policy

or the public interest, as the Texas Legislature has enacted the Texas Uniform Trade Secrets Act

to protect the very kind of trade secrets at issue here.

       139.     Thus, the only adequate, effective, and complete relief to Canyon is to enjoin and

restrain Defendants immediately from engaging in the proscribed activities set forth below.

Accordingly, pursuant to Federal Rule of Civil Procedure 65, Canyon requests that the Court

enter a temporary restraining order immediately to enjoin and restrain that (1) Defendants; (2)

Defendants’ agents, servants, employees, and attorneys; (3) all others acting in concert with

Defendants; and (4) people or entities that receive actual notice of the Order by personal service

or otherwise be restrained and enjoined until expiration of the temporary restraining order as

follows:

             a. For Defendants (or anyone in concert with them), from using, maintaining,
                revealing, or disclosing Canyon’s Confidential Information, including
                Canyon’s Trade Secrets, in their possession;
             b. For Defendants (or anyone in concert with them), from soliciting,
                attempting to solicit, or interfering with Canyon’s business relationships,
                or doing business with any of Canyon’s customers or vendors;
             c. For Defendants (or anyone in concert with them), from directly or
                indirectly transferring, spending, hypothecating, concealing, encumbering,
                withdrawing, removing, or allowing transfer, removal, or withdrawal of all
                monies, payments, or things of value received by Defendants that were
                received or earned as a result of any use or disclosure of Canyon’s
                Confidential Information, including Canyon’s Trade Secrets;
             d. For Defendants (or anyone in concert with them), from destroying or
                disposing of any evidence or other materials, in any form, relating to this
                action and the issues raised herein, including (but without limitation) all
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 39 of 45



               devices, electronic media, cloud storage, telephones and all copies of any
               and all documents, media and/or other materials containing, identifying,
               describing, reflecting, or referencing Canyon’s confidential, proprietary,
               or trade secret information and any and all documents, date, and
               information which was obtained by Defendants from or by virtue of their
               relationship with Canyon, including all current and archived media,
               emails, chats, texts, documents, electronic logs, metadata, storage
               directories, telephone logs, telephones, computer, laptops, software or
               hardware; and
           e. For Defendants (or anyone in concert with them), from selling any
              furniture made in whole or in part with Canyon’s Confidential Information
              and/or Canyon’s Trade Secrets.
       140.    Plaintiff is ready, willing, and able to post bond pursuant to Fed. R. Civ. P. 65(c).

B.     Preliminary and Permanent Injunction

       141.    Plaintiff Canyon seeks preliminary and permanent injunctive relief pursuant to

Fed. R. Civ. P. 65.

       142.    As a direct and proximate result of Defendants’ conduct described above, Canyon

has lost significant, uncertain, and possibly indeterminable amounts of money. Further,

Defendants actions are also damaging Canyon in ways that money simply cannot replace. On

this date and considering the ongoing nature of Defendants’ activities, the total loss to Canyon

cannot be accurately measured. However, unless Defendants are enjoined as requested herein,

Canyon will suffer further irreparable harm.

       143.    The conduct by Defendants, as set forth in detail above, will further lead to

irreparable injury to Canyon, in part because of the strong likelihood that neither FIS, Disenos,

nor Individual Defendants have sufficient assets to satisfy a monetary judgment that may be

rendered against them, such that Canyon has no adequate remedy at law.

       144.    Defendants’ conduct is without right or entitlement.

       145.    For the harm and loss suffered by Canyon, and for the harm and loss that will

continue but for the intervention of the Court, Canyon has no adequate remedy at law. If
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 40 of 45



Defendants or anyone acting on their behalf or at their direction are permitted to continue to

manufacture, sell, and profit from the Copied Furniture, Defendants will have profited by their

own wrong, resulting in immeasurable damages to Canyon that are unpredictable, uncertain and

unending. Unless restrained as requested herein, there exists substantial risk that Defendants will

be unable to answer in money damages.

       146.    Prospective harm caused by issuing the injunctive relief prayed for herein does

not outweigh the substantial loss to be caused by the disclosure and/or unauthorized use of

Canyon’s Confidential Information, including Canyon’s Trade Secrets. Further, the injunctive

relief prayed for herein will do no more than restore the parties to their status that existed prior to

Defendants’ unlawful conduct.

       147.    Additionally, the requested injunctive relief will not adversely affect public policy

or the public interest, as the Texas Legislature has enacted the Texas Uniform Trade Secrets Act

to protect the very kind of trade secrets at issue here.

       148.    Canyon is entitled to obtain injunctive relief to prevent Defendant Rodriguez from

further breaching his duty of loyalty to Canyon and to prevent the further misappropriation of

Canyon’s Confidential Information, including Canyon’s Trade Secrets.

       149.    For the reasons stated in this pleading, it is essential that this Court, upon

expiration of temporary restraining order and hearing, preliminarily restrain Defendants and

anyone acting on their behalf and/or at their direction as follows:

           a. For Defendants (or anyone in concert with them), from using, maintaining,
              revealing, or disclosing Canyon’s Confidential Information, including
              Canyon’s Trade Secrets, in their possession;
           b. For Defendants (or anyone in concert with them), from soliciting,
              attempting to solicit, or interfering with Canyon’s business relationships,
              or doing business with any of Canyon’s customers or vendors;
           c. For Defendants (or anyone in concert with them), from directly or
              indirectly transferring, spending, hypothecating, concealing, encumbering,
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 41 of 45



               withdrawing, removing, or allowing transfer, removal, or withdrawal of all
               monies, payments, or things of value received by Defendants that were
               received or earned as a result of any use or disclosure of Canyon’s
               Confidential Information, including Canyon’s Trade Secrets;
           d. For Defendants (or anyone in concert with them), from destroying or
              disposing of any evidence or other materials, in any form, relating to this
              action and the issues raised herein, including (but without limitation) all
              devices, electronic media, cloud storage, telephones and all copies of any
              and all documents, media and/or other materials containing, identifying,
              describing, reflecting, or referencing Canyon’s confidential, proprietary,
              or trade secret information and any and all documents, date, and
              information which was obtained by Defendants from or by virtue of their
              relationship with Canyon, including all current and archived media,
              emails, chats, texts, documents, electronic logs, metadata, storage
              directories, telephone logs, telephones, computer, laptops, software or
              hardware; and
           e. For Defendants (or anyone in concert with them), from selling any
              furniture made in whole or in part with Canyon’s Confidential Information
              and/or Canyon’s Trade Secrets.
       150.    It is essential that the Court act immediately because to do otherwise would risk

irreparable injury to Canyon with no adequate remedy at law. Further, Defendants’ on-going

conduct threatens Canyon, and, therefore, relief cannot wait until a full injunction hearing can be

had.

       151.    For the reasons stated herein, Canyon further requests that upon proper notice and

hearing, a preliminary injunction be entered against Defendants on the terms set forth above to

enjoin Defendants—and their agents, servants, employees, attorneys, and those persons and

entities in active concert or participation with Defendants who receive actual notice of the order

by personal service or otherwise—from undertaking the conduct described herein.

       152.    Canyon will seek a permanent injunction on final trial of this lawsuit to enjoin

Defendants from the conduct (with additional reasonable limitations) set forth above.

       153.    Plaintiff is ready, willing, and able to post bond pursuant to Fed. R. Civ. P. 65(c).
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 42 of 45



                                  VIII.          DAMAGES

       154.    As stated above, Defendants’ actions caused, and if not enjoined will continue to

cause, irreparable harm to Canyon, for which there is no adequate remedy at law. Further,

Defendants caused additional harm that may be compensable through a judgment for actual

damages. Each of the acts and omissions alleged herein singularly or in combination with others,

constitutes breach of the common law duty not to use or disclose confidential information;

breach of contract; breach of the duty of loyalty; tortious interference with existing or

prospective contracts/business relations; misappropriation of confidential information and/or

trade secrets; unfair competition; unjust enrichment; common law fraud; fraud by nondisclosure;

and other wrongful conduct which proximately caused the occurrences made the basis of this

action, and Canyon’s damages. Accordingly, as a proximate result of Defendants’ conduct set

forth herein, Canyon suffered damages far in excess of the minimum jurisdiction limits of this

Court, and is entitled to recover same, in addition to interest, costs, reasonable attorney’s fees,

and in addition to any other available relief.

       155.     Further, Canyon seeks judgment from and against Defendants jointly and

severally, in the amount of its actual damages, punitive, and exemplary damages, pre-and post-

judgment interest, attorney’s fees and expenses, cost of court, and any other damages recoverable

under applicable law.

                IX.        ATTORNEY’S FEES, COSTS, AND INTEREST

       156.    Pursuant to Tex. Civ. Prac. & Rem. Code § 134A.005, Canyon is entitled to

recover attorney’s fees in this case from Defendants.
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 43 of 45



       157.   In addition to reimbursement of its legal expenses and attorney’s fees, Canyon

seeks and is entitled to costs of Court, and pre-judgment and post-judgment interest at the

maximum rate permitted by law.

                          X.         CONDITIONS PRECEDENT

       158.   To the extent applicable, all conditions precedents have been performed, have

occurred, or have been waived, in accordance with the Federal Rule of Civil Procedure 9(c).

                         XI.         DEMAND FOR JURY TRIAL

       159.   Plaintiff requests a jury trial.

                                     XII.        PRAYER


       WHEREFORE, PREMISES CONSIDERED, Canyon respectfully requests:

       A.     Monetary relief in excess of $1,000,000;

       B.     Actual and consequential damages incurred by Canyon, as determined at a

              trial on the merits;

       C.     Judgment against Defendants for exemplary damages as determined at

              trial on the merits;

       D.     Costs of suit, including court costs and reasonable legal expenses and

              attorney’s fees;

       E.     Pre- and post-judgment interest at the maximum rate provided by law;

       F.     Permanent injunctive relief ordered on final trial of this cause enjoining

              Defendants from the following conduct:

              1. For Defendants (or anyone in concert with them), from using,
                 maintaining, revealing, or disclosing Canyon’s Confidential
                 Information, including Canyon’s Trade Secrets, in their possession;
              2. For Defendants (or anyone in concert with them), from soliciting,
                 attempting to solicit, or interfering with Canyon’s business
    Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 44 of 45



             relationships, or doing business with any of Canyon’s customers or
             vendors;
         3. For Defendants (or anyone in concert with them), from directly or
            indirectly transferring, spending, hypothecating, concealing,
            encumbering, withdrawing, removing, or allowing transfer, removal,
            or withdrawal of all monies, payments, or things of value received by
            Defendants that were received or earned as a result of any use or
            disclosure of Canyon’s Confidential Information, including Canyon’s
            Trade Secrets;
         4. For Defendants (or anyone in concert with them), from destroying or
            disposing of any evidence or other materials, in any form, relating to
            this action and the issues raised herein, including (but without
            limitation) all devices, electronic media, cloud storage, telephones and
            all copies of any and all documents, media and/or other materials
            containing, identifying, describing, reflecting, or referencing Canyon’s
            confidential, proprietary, or trade secret information and any and all
            documents, date, and information which was obtained by Defendants
            from or by virtue of their relationship with Canyon, including all
            current and archived media, emails, chats, texts, documents, electronic
            logs, metadata, storage directories, telephone logs, telephones,
            computer, laptops, software or hardware;
         5. For Defendants (or anyone in concert with them), from selling any
            furniture made in whole or in part with Canyon’s Confidential
            Information and/or Canyon’s Trade Secrets;
    G.   Judgment against all Defendants, jointly and severally, as requested

         above; and

    H.   Such other and further relief, at law or in equity, to which it may show

         itself justly entitled.




                           
        Case 5:18-cv-00753-OLG Document 38 Filed 11/08/18 Page 45 of 45



Dated: September 28, 2018              DIAMOND MCCARTHY LLP


                                          /s/ Rebecca A. Muff
                                       Allan B. Diamond
                                       TX State Bar No. 05801800
                                       Rebecca A. Muff
                                       TX State Bar No. 24083533
                                       Brian R. Hogue
                                       TX State Bar No. 24094725
                                       Two Houston Center
                                       909 Fannin, 37th Floor
                                       Houston, Texas 77010
                                       (713) 333-5100 Telephone
                                       (713) 333-5199 Facsimile
                                       adiamond@diamondmccarthy.com
                                       rmuff@diamondmccarthy.com
                                       brian.hogue@diamondmccarthy.com

                                       Jason P. Fulton
                                       State Bar No. 24040936
                                       2711 N. Haskell Avenue, Suite 3100
                                       Dallas, Texas 75204
                                       (214) 389-5300 Telephone
                                       (214) 389-5399 Facsimile
                                       jfulton@diamondmccarthy.com

                                       Counsel for Canyon Furniture Company
